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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


                                                Civil Action No. 11-cv-7318 (CCC)(CLW)
   JUICE ENTERTAINMENT, LLC, THOMAS
   DORFMAN, AND CHRIS BARRETT,
                      Plaintiffs,

                        vs.

   LIVE NATION ENTERTAINMENT, INC.,

                                   Defendant.


      [PROPOSED] ORDER STRIKING PLAINTIFFS’ EXPERT REPORT

          THIS MATTER having been open to the Court by Greenberg Traurig, LLP,

  attorneys for Defendants Live Nation Entertainment, Inc., (“Live Nation”) on notice

  to Andrew Smith, attorney for Plaintiffs Juice Entertainment LLC, Thomas

  Dorfman, and Chris Barrett (“Plaintiffs”), by way of Motion to Strike Plaintiffs’

  Expert Report, excluding from this litigation the expert report and expert testimony

  of Dr. Richard D. Barnet, and the Court having considered the submissions of the

  parties and having heard argument of counsel, if required, and for good cause shown,

                  IT IS THIS ____ day of _________________, 2019,

                  ORDERED that:

          1. Defendants’ Motion to Strike Plaintiffs’ Expert Report and Testimony of

              Dr. Richard D. Barnet hereby is GRANTED; and it is further




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          2. Any and all reports prepared by Dr. Richard D. Barnet are hereby excluded

              from use in this litigation; and it is further

          3. Dr. Richard D. Barnet is hereby excluded from testifying as expert witnesses

              at trial in this litigation; and it is further

          4. Dr. Richard D. Barnet shall destroy all Live Nation Confidential Documents

              in his possession, custody, or control; and it is further

          5. Plaintiffs shall reimburse Live Nation its reasonable costs and fees incurred

              in bringing this motion, which Live Nation shall quantify in an appropriate

              submission to be filed with the Court on or before ____________, 2019,

              following which Plaintiffs shall have 14 days in which to provide such

              reimbursement.



                                                        Hon. Cathy L. Waldor, U.S.M.J.




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